
662 S.E.2d 392 (2008)
STATE of North Carolina
v.
Jason Christopher WALKER and
Emit E. Browning, Jr. and
Javier A. Hernandez, Jr.
No. 16P05-3.
Supreme Court of North Carolina.
April 10, 2008.
Robert C. Montgomery, Special Deputy Attorney General, Seth Edwards, District Attorney, for State of NC.
Brian Michael Aus, Durham, for Browning.
Daniel L. Pollitt, Assistant Appellate Defender, for Walker.
Geoffrey W. Hosford, Wilmington, for Hernandez.
Prior report: ___ N.C.App. ___, 654 S.E.2d 722.

ORDER
Upon consideration of the petition filed by State of NC on the 31st day of January 2008 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 10th day of April 2008."
Upon consideration of the petition filed on the 31st day of January 2008 by State of NC in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 10th day of April 2008."
